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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS
                                      WICHITA DIVISION

LINDA HAMILTON,

          Plaintiff,
                                                        CASE NO: 6:07-cv-01358-JTM-KMH
vs.

LDF FOOD GROUP, INC.,

      Defendant.
__________________________________/

                                     AMENDED COMPLAINT

          Plaintiff, Linda Hamilton (“Plaintiff”) by and through the undersigned counsel, hereby files

this Amended Complaint and sues LDF Food Group, Inc., for injunctive relief, attorney’s fees and

costs pursuant to 42 U.S.C. §12181 et seq., (“Americans With Disabilities Act” or “ADA”) and

allege:

                                  JURISDICTION AND PARTIES

          1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans With Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter referred to as the “ADA”).

This Court is vested with original jurisdiction under 28 U.S.C. Sections 1331 and 1343.

          2.      Venue is proper in this Court, the District of Kansas pursuant to 28 U.S.C. §1391 (B)

and Local Rules of the United States District Court for the District of Kansas.

          3.      Plaintiff, Linda Hamilton (hereinafter referred to as “Hamilton”) is a

resident of the State of Kansas and is a qualified individual with a disability under the ADA.

Hamilton suffers from what constitutes a “qualified disability” under the Americans With

Disabilities Act of 1990, (“ADA”) and all other applicable Federal statutes and regulations to the
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extent that she suffers from quadriplegia and requires the use of a wheelchair for mobility and has

limited use of her upper extremities. Prior to instituting the instant action, Hamilton visited the

Defendant’s premises at issue in this matter, and was denied full, safe and equal access to the subject

property of Defendant due to its lack of compliance with the ADA. Hamilton continues to desire and

intends to visit the Defendant’s premises but continues to be denied full, safe and equal access due to

the barriers to access that continue to exist.

        4.      The Defendant, LDF Food Group, Inc., is a corporation registered to do business and,

in fact, conducting business in the State of Kansas. Upon information and belief, LDF Food Group,

Inc. (hereinafter referred to as “LDF”) is the owner, lessee and/or operator of the real property and

improvements that is the subject of this action, specifically the Wendy’s Old Fashioned Hamburgers

located 160 South Rock Road, Wichita, Kansas (hereinafter referred to as the “Restaurant”).

        5.      All events giving rise to this lawsuit occurred in the District of Kansas.

                            COUNT I - VIOLATION OF THE ADA

        6.      On or about July 26, 1990, Congress enacted the Americans With Disabilities Act

(“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of Title III of the

ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508 (A).

        7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Restaurant owned by

LDF is a place of public accommodation in that it is a fast food restaurant operated by a private

entity that provides goods and services to the public.

        8.      Defendant LDF, has discriminated and continues to discriminate against the Plaintiff,

and others who are similarly situated, by denying access to, and full, safe and equal enjoyment of


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goods, services, facilities, privileges, advantages and/or accommodations at the Restaurant in

derogation of 42 U.S.C §12101 et seq.

       9.      The Plaintiff has been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at the Restaurant owned by LDF. Prior to the filing of this lawsuit,

Plaintiff visited the Restaurant at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered an injury in fact.

In addition, Plaintiff continues to desire and intends to visit the Restaurant, but continues to be

injured in that she is unable to and continues to be discriminated against due to the barriers to access

which remain at the Restaurant in violation of the ADA. Hamilton has now and continues to have

reasonable grounds for believing that she has been and will be discriminated against because of the

Defendant’s continuing deliberate and knowing violations of the ADA.

       10.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA 28 C.F.R. Part 36.

       11.     LDF is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302 et seq. and is

discriminating against the Plaintiff as a result of inter alia, the following specific violations:

       (i)     Accessible signage is not provided for accessible parking spaces;

       (ii)    The interior entrance door lacks clear floor space on the pull side of the door;

       (iii)   There is not sufficient maneuvering clearance to enter the toilet rooms;

       (iv)    There is insufficient maneuvering clearance on the push side of the door to exit the
               women’s toilet rooms;

       (v)     The rear and side grab bars provided in the toilet rooms are too short;

       (vi)    The toilet paper dispenser in the toilet rooms is mounted improperly against the side

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               grab bar;

        12.    There are other current barriers to access and violations of the ADA at theRestaurant

owned and operated by LDF that were not specifically identified herein as the Plaintiff is not

required to engage in a futile gesture pursuant to 28 C.F.R. Part 36, §36.501 and, as such, only once a

full inspection is performed by Plaintiff or Plaintiff’s representatives can all said violations be

identified.

        13.    To date, the barriers to access and other violations of the ADA still exist and have not

been remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

        14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304, LDF was

required to make its Restaurant, a place of public accommodation, accessible to persons with

disabilities by January 28, 1992. To date, LDF has failed to comply with this mandate.

        15.    Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s fees, costs and

expenses paid by LDF pursuant to 42 U.S.C. §12205.

        16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff’s injunctive relief, including an Order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facilities until the requisite modifications are completed.

        WHEREFORE, the Plaintiff demands judgment against LDF Food Group, Inc. and requests

the following injunctive and declaratory relief:

               A.      That the Court declare that the property owned and administered by
                       Defendant is violative of the ADA;

               B.      That the Court enter an Order directing Defendant to alter its facilities

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                    to make them accessible to and useable by individuals with disabilities
                    to the full extent required by Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to evaluate and
                    neutralize its policies and procedures towards persons with disabilities
                    for such reasonable time so as to allow them to undertake and complete
                    corrective procedures;

             D.     That the Court award reasonable attorney’s fees, costs (including expert
                    fees) and other expenses of suit, to the Plaintiff; and

             E.     That the Court award such other and further relief as it deems
                    necessary, just and proper.


      Dated this 25th day of March 2008.



/s/ Lawrence W. Williamson, Jr.                /s/ Edward I. Zwilling
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